










Opinion issued December 30, 2004











In The
Court of Appeals
For The
First District of Texas




NO. 01–04–01033–CV




GREGORY ALFONSO BROWN, Appellant

V.

HAZEL CATHERINE BROWN, Appellee




On Appeal from the 306th District Court
Galveston County, Texas
Trial Court Cause No. 03FD1350




MEMORANDUM OPINIONAppellant Gregory Alfonso Brown has neither established indigence, nor paid
all the required fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil cases
unless indigent), 20.1 (listing requirements for establishing indigence); see also Tex.
Gov’t Code Ann. §§ 51.207, 51.941(a), 101.041 (Vernon Supp. 2004) (listing fees
in court of appeals); Fees Civ. Cases B(1), (3) (listing fees in court of appeals). 
After being notified that this appeal was subject to dismissal, appellant Gregory
Alfonso Brown did not adequately respond.  See Tex. R. App. P. 5 (allowing
enforcement of rule); 42.3(c) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for nonpayment of all required fees.  All pending
motions are denied.
PER CURIAM
Panel consists of Chief Justice Radack and Justices Nuchia and Bland.


